Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 1 of 24 PagelD: 441

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

RICHARD M. ZELMA RECEIVED

Richard M. Zelma, Pro Se

940 Blanch Avenue APR 1 7 2015
Norwood, New Jersey 07648

TCPALA W@optonline.net AT 8:30.00
Tel: 201 767 8153 WILLIAM T. WALSH, CLERK

 

RICHARD M. ZELMA
PLAINTIFF Case 2:15-cv-0308-SDW-SCM
vs.

EVAN KUPERMAN individually, as Removed from the Superior
Court of New Jersey Law

 

 

 

 

owner, officer or managing member of Division, Bergen County;
GALAXY NYACK INC., d/b/a Original DOCKET NO.BER-L-0338-14
ROCKLAND TOYOTA,
Civil Action
and —_ror.
GALAXY NYACK INC., d/b/a
ROCKLAND TOYOTA, AMENDED COMPLAINT FOR STRICT
and LIABILITY STATUTORY DAMAGES;
DOES’ (1-5) and ABC | TREBLED DAMAGES; BREACH OF
CORPORATIONS' = (1-5); EACH | iwpLigED CONTRACT; BREACH OF
ACTING INDIVIDUALLY, IN
PROMISSORY ESTOPPLE and _ for
CONCERT ORAS A GROUP.
DEFENDANTS PERMANENT INJUNCTIVE RELIEF
I. INTRODUCTION
1. Plaintiff, Richard M. Zelma, residing at 940 Blanch

Avenue, Norwood New Jersey, by way of Amended Complaint as
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 2 of 24 PagelD: 442

against Defendants’ says as follows:

2. This suit is brought pursuant to applicable
authorities; 47 U.S.C. §227 (c)(5) et seg, which prohibits
the initiation of unsolicited marketing calls made by
telephone, either live or prerecorded. As set forth herein,
the Defendants repeated calls, made to Plaintiff's home,
caused undue harassment, violated the peace and solitude of
his home and violated federal no-call laws.

II. PARTIES

3. Richard M. Zelma (hereinafter, “Plaintiff"), is a
natural person and senior citizen, residing at 940 Blanch
Avenue, in the Borough of Norwood, Bergen County New Jersey
07648. Plaintiff subscribes to telephone number [201] 767
8153 and has owned such number over 40 years.

III. DEFENDANTS

4, Upon information and belief, Defendant Galaxy Nyack, Inc.,
d/b/a Rockland Toyota (Hereinafter, “Rockland”, "Rockland Toyota",
"the dealership", "dealer" or "“Defendant") is a corporation

organized and existing under the laws of the state of Delaware,
having its principal place of business located at 618 Route 303,
Blauvelt, New York 10913.

5. Galaxy Nyack, Inc., d/b/a Rockland Toyota may be served at;
National Registered Agents, Inc., 160 Greentree Dr. Ste 101, Dover

DE. 19904.
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 3 of 24 PagelD: 443

6. Upon information and belief, Defendant Evan Kuperman
(Hereinafter “Kuperman” or “Defendant”) is the active co-owner of
defendant Rockland Toyota, controlling, directing and making the
day-to-day operational decisions for his company. Kuperman may be
served at his place of business, 618 Route 303, Blauvelt, NY 10913.

7. Plaintiff sues Defendant Kuperman individually under
the Responsible Corporate Officer Doctrine.

8. Defendant Does’ and ABC corporations’ identities are
currently unknown to Plaintiff and such parties will be
identified as that information becomes available.

IV. JURISDICTION AND VENUE

9, The facts giving rise to this complaint had their
primary effect in the County of Bergen.

10. This Court has general jurisdiction under authority
of 47 U.S.C. §227(c)(5) where Defendants engaged in
substantial, continuous and systematic activities by
repeatedly initiating unwanted calls into New Jersey,
within this County, to Plaintiff, a resident whose phone
numbers are registered on the Federal and States no-call
list since inception and the controlling jurisdiction in
which the violations occurred.

11. As further set out below, the defendants' ignored
Plaintiffs repeated no-call-request and purposely directed

their activities towards him, deliberately, in a
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 4 of 24 PagelD: 444

continually harassing manner, for their own financial gain.

V. ACTS OF AGENTS

12. Whenever and wherever it is herein alleged that the
Defendants', either individually, in concert with others or
as a group, did any act defined or described in the within
Matter, it is meant the Defendants' performed, caused to be
performed and/or participated in the act and/or that
Defendant's officers, employees, managers, general
Managers, assistant general managers, contractors, assigns,
successors, predecessors, affiliates, or ‘'‘other' agent[s]
performed or participated in those acts on behalf of, for
the benefit of, and/or under the authority of the
Defendants' and each of them.

VI. FACTUAL BACKGROUND
13. In 2008, Plaintiff leased a Toyota vehicle from
Rockland. During the process, Plaintiff was presented with
papers requesting that he agree to among other things, to
accept phone calls from the dealer or its marketing partners
for matters not related to service or recalls.
14. Plaintiff and his wife vehemently objected to such
request and refused to sign any such agreement. In
furtherance to that request, Plaintiff instructed Rockland’s

Managing employee, Mrs. Masih, where in fact, he was NOT to
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 5 of 24 PagelD: 445

be called for anything except that related to “the vehicle

being serviced”.

15. In 2011, during the time period surrounding the lease
expiration, Plaintiff received a total of Twelve (12)
prerecorded messages inviting him to visit ‘his’ Toyota

Dealer in what was described as a plethora of “deals.”

16. The calls referenced “great deals” for the next lease
or purchase but neither Rockland nor Toyota Corp would take
ownership or responsibility for those prohibited calls.

17. Subsequently, Plaintiff commenced with the
appropriate litigation against both the dealership and
Toyota Motor Corp a/k/a Toyota Financial Services.

18. Suit was filed in the Bergen County Superior Court

bearing Docket No.: BER-L-1027-13. Shortly thereafter, defendants’

removed the case to District Court bearing Case No.: 2:13-cv-02698-
ES-SCM.
19. Plaintiff filed a Motion to remand which was granted and the

Matter was remanded back to the Bergen County Court on or about
October 1, 2013. Shortly thereafter, on or about June 10, 2014,
the matter settled.

20. That settlement engaged an agreement and release. The
agreement created an implied contract or promissory estoppel
on the part of the defendant whereby, the actions addressed
in the complaint would not be repeated by the defendants.

-5-
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 6 of 24 PagelD: 446

21. It should be noted; during the ongoing previous suit,
Plaintiff was experiencing electrical problems with the subject
vehicle, whereby the warranty required the vehicle be repaired from

where the problem started, at Rockland Toyota.

22. Following four (4) previous visits to Rockland for the same
unresolved problem, plaintiff found it necessary to again bring his

vehicle in to Rockland.

23. Plaintiff set-up August 4, 2014 with service writer Donato
Pozzuto to bring in his vehicle. Upon arriving at the Rockland
Dealership, Mr. Pozzuto asked Plaintiff and his wife to “stay

put” while he located a “loaner vehicle”.

24. Minutes later, Mr. Pozzuto asked Plaintiff and his

wife to accompany him to another part of the facility.

25. Plaintiff and his wife were then confronted by a Thomas
Stacey, claming to be the service manager.

26. While in the presence of Mr. Pezzuto, other employees of the
Defendant dealership as well as customers waiting for their
vehicles, Mr. Stacey stated in a rather loud and seemingly annoyed
tone; “Mr. Zelma, you filed suit last year against this dealership
and its owners for 12 telemarketing calls made to your home, isn’t
that correct?” Plaintiff responded in the affirmative.

27. Stacey continued, “And as a result of that suit, we paid you
[REDACTED] dollars to settle that suit, isn’t that correct?

Plaintiff responded in the affirmative.
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 7 of 24 PagelD: 447

28. Stacey continues; “for that reason Mr. Zelma, we no longer
want to work on your vehicle, we want you to leave this dealership
now. If you come back for any reason, we will call the police and
have both you and your wife escorted out, is that clear?"

29. Plaintiff asked Mr. Stacey, who gave him this directive and
was told Evan Kuperman. Plaintiff informed Stacey that an extended
warranty was still in effect with the dealership and to refuse
service for an ongoing issue would be a material breach of such
agreement. Stacey shrugged his shoulders stating “leave the building
now!"

30. The foregoing recitation questions the Defendants ability to
not only maintain an effective no-call policy, but further questions
Kupermans intention to invite a former customer back to his place of
business from which that customer was previously thrown out of.

VII. ADDITIONAL CALLS/ CURRENT VIOLATIONS

31. As fully set-out below, the implied contract and
promissory estoppel embodied within the Settlement Agreement was
breached by the (current) defendants’, Evan Kuperman and Rockland
Toyota.

32. On September 9, 2014, in defiance to the previous no-

call request which emanated through the recently settled

 

' Plaintiff will be filing a separate suit against the Defendants’ for breach of contract under the Magnusson Moss Warranty

Act
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 8 of 24 PagelD: 448

legal dispute, the defendants (again) initiated calls to
Plaintiffs residence, captured by Plaintiffs Caller ID
software, indicating number [845] 358 2220 initiated three
(3) calls to his residential number, [201] 767 8153.

33. The first call from number [845] 358 2220 was
captured at 9:48 AM, leaving no message.

34. The second call from number [845] 358 2220 was
captured at 9:53 AM, leaving no message.

35. The third call was captured at 10:04 AM from [845]
358 2220.

36. Plaintiff responded to the third call where a young
lady said she was calling from Rockland Toyota, where she
previously tried to call but was interrupted by customers
entering the dealership but wanted to offer Plaintiff
maintenance service on his 2008 Toyota at the defendant’s

facility. The three (3) calls on September 9, 2014, were

 

solicitations as that term is defined for the defendants’
products, goods or services.

37. The service being offered included an oil change,
tire rotation with an option for an inspection of brakes and
other mechanical parts, each service having its own cost.

38. Defendant Evan Kuperman made a deliberate conscious
decision to initiate those calls by engaging in a prohibited
course of conduct, directing his employees to repeatedly

-8-
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 9 of 24 PagelD: 449

solicit Plaintiff, knowing his telemarketing calls were
unlawful, unwanted and would not be welcomed by Plaintiff.

39. The definition of "telephone solicitation" twice
specifically references "initiation of a telephone call or message,"
not "initiation of a telephone call and message."

40. Subsequently, the defendants’ actions breached an
implied contract as well as promissory estoppel/detrimental reliance
whereupon it was understood Kuperman and his organization
would no longer solicit Plaintiff as a result of the
previous litigation. [Kuperman Aff. 7, EXHIBIT 1}

41. It should be well established through the previous
litigation where Plaintiff and the defendants and each of
them do not have any established or existing business
relationship that had not been previously severed for
purposes related to telemarketing.

42. It should also be noted by the defendants repeated
calls that Kuperman does not have nor ever had established
or implemented procedures to effectively stop the unwanted
calls, or in the alternative, choose not to do so.

43. Within the previous litigation and relevant to the
instant matter, Kuperman had signed under oath, an affidavit
dated May 14, 2013, in support of his defense where he
stated with particularity; “Rockland Toyota removed all

telephone numbers associated with Richard M. Zelma from its

-9.
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 10 of 24 PagelD: 450

system, following Mr. Zelma’s July 26, 2008 “cease and

desist letter.” [Kuperman Aff. 7, EXHIBIT 1]

44. Kupermans sworn statement is a sham. There is

veracity within any of his claims since the reality of the

prevailing litigation shows that Kuperman never had

procedures in place to stop unwanted telemarketing calls.

45. In fact, shortly before filing the within matter,

mailing was received by Plaintiff on November 20, 2014, sent

from defendant Kuperman, inviting Plaintiff to take

advantage of some Black Friday deals, attached herewith and

made a part hereof as [EXHIBIT-2].

VIII. FACTS RELEVANT TO THE AMENDED COMPLAINT

46. Plaintiff has no established or existing business

relationship with the defendants' to exempt telemarketing

calls.

47. The defendant's calls set forth herein, were made in

violation of both federal and State law.

48. At all times material to this Amended Complaint,

acting alone or in concert with others, defendant Kuperman

had the authority and/ or responsibility to prevent

correct the unlawful telemarketing practices but knowingly

chose not to do so.

49. The named Defendants' are therefore liable along with

the currently unnamed Doe Defendants, under the terms of 47

-10-
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 11 of 24 PagelD: 451

U.S.C. §227 (c)(5).

50. The defendants’ initiated and delivered at least
three (3) calls to Plaintiffs residential phone line, [201]
767 8153, commencing September 9, 2014, all with the intent
and sole purpose to solicit the Defendants services, not to
see how Plaintiff ‘was doing’. Id.

51. At all times relevant, the Defendants purposely,
willfully or knowingly initiated or caused the initiation of
those calls to Plaintiff and delivered said calls to
Plaintiff which were purely commercial in nature, to benefit
the Defendant's own financial gain.

Ix. THIS COURT'S POWER TO GRANT RELIEF

52. 47 U.S.C. §227(c)(5)(A) empowers This Court to grant
injunctive and other ancillary relief to prevent and remedy
any future violation[s] by the Defendant of any provision of
law that protects Plaintiff, enforced by the FCC and / or
the State.

53. Plaintiff will suffer continual harassment and abuse
to his household if the Defendants are permitted to continue
to engage in their questionable practices, if Permanent
Injunctive Relief is not granted.

54. Accordingly, Plaintiff has a cause of action against
the Defendants and hereby seeks relief under the TCPA's
Strict Liability statutory damage award, the Defendants

-ll-
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 12 of 24 PagelD: 452

breach of implied contract and promissory estoppel and
Permanent Injunctive Relief pursuant to the foregoing and as
against each Defendant.
X. COUNT ONE
VIOLATIONS OF THE TCPA’S
DO-NOT CALL LIST REQUIREMENTS
(47 U.S.C. § 227(c)(5)(B)

55. Plaintiff repeats, re-alleges and incorporates by
reference Paragraphs one through fifty-four above as if set
forth in full at length.

56. The language of 47 C.F.R. §64.1200(c)(2) quite plainly
states that “No person or entity shall initiate any telephone
solicitation to . . . [a]residential telephone subscriber who has
registered his or her telephone number on the national do-not-call
registry of persons who do not wish to receive telephone
solicitations that is maintained by the Federal Government. .. .”
(Emphasis added).

57. The Defendants initiated three (3) calls to Plaintiffs
residential phone line which is listed on the FTC no-call list since
2003.

58. Moreover; “the term ‘telephone solicitation’ means’ the
initiation of a telephone call or message for the purpose of
encouraging the purchase or rental of, or investment in, property,
goods, or services, which is transmitted to any person, but such

term does not include a call or message;

(i) To any person with that person's prior express invitation or permission;

-]2-
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 13 of 24 PagelD: 453

(ii) To any person with whom the caller has an established business relationship;

47 C.F.R. §64.1200(£)(14). (Emphasis added).

59. Plaintiff did not provide Defendants with prior express
invitation or permission to call him.

60. Plaintiff does not have an established business relationship
with the Defendants which has not been previously severed for
purposes of telemarketing.

61. The statute, codified at 47 U.S.C. §227(c)(5), authorizes a
Private Right of Action against any entity initiating such unlawful
calls, thus violating that no call request.

62. On the dates set forth above, the defendants and each of
them initiated three (3) calls to Plaintiffs residence, a number
previously placed on the national do-not-call registry.

WHEREFORE, Plaintiff demands judgment against Defendants
as follows:

Award Plaintiff strict liability statutory damages
of $500.00 for each of the three (3) unlawful calls
initiated to Plaintiff, material to Count One for a total

of $1500.00.

XI. COUNT TWO
VOLUNTARILY DISMISSED

XII. COUNT THREE
VOLUNTARILY DISMISSED

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays that this Court:

-13-
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 14 of 24 PagelD: 454

(a) Award Plaintiff strict liability
Statutory damages under authority of 47 U.S.C. §
227(c)(5)(B) for the unlawful calls material to
Count One for a total of $1500.00.

(b) Award Plaintiff statutory trebled
damages in addition to any other appropriate legal or
equitable relief under authority of 47 U.S.C.
§227(c)(5)(C), for the defendants willful or
knowing unlawful three (3) calls initiated to
Plaintiff, material to Count One, for a total of
$4500.00.

(c) Award Plaintiff Permanent Injunctive
Relief pursuant to 47 U.S.C. §227(c)(5)(A)

(d) In the alternative, award Plaintiff
any Other Equitable Relief the Court deems
justified to stop the accelerated harassment
defined and described herein.

(e) Plaintiff reserves the right to
supplement this prayer, in the event additional
violations surface through continuing discovery.

(f£) Plaintiff waives any award in excess
of $74,500.00, (Seventy Four Thousand Five
Hundred Dollars), excluding costs and /or legal

fees.

-14-
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 15 of 24 PagelD: 455

Respectfully submitted,

 

By:

 

w= Zz
RICHARD M. ZELMA, pro se
Dated: April 15, 2015

RULE 4:5-1 CERTIFICATION
Pursuant to the requirements of R. 4:5-1, I certify that
the matter in controversy is not the subject of any other
Court or Arbitration proceeding, nor is any other Court or
Arbitration proceeding contemplated. No other parties should

be joined in this action.

 

By:

 

Pree Ee ee”
o

RICHARD M. ZELMA, pro se

Dated: April 15, 2015

NOTICE TO ATTORNEY GENERAL
FOR THE STATE OF NEW JERSEY

NOTICE IS HEREBY GIVEN to the Office of Attorney
General for the State of New Jersey pursuant to N.J.S.A. §56:8-20
of the within claim based upon violations of the Consumer Fraud
Act and the New Jersey no-call law.

I hereby certify that contemporaneous with the filing
hereof, a copy of this pleading has been mailed to the aforesaid
Office of Attorney General for the State of New Jersey at the New
Jersey State Division of Law, Hughes Justice Complex, 25 W.
Market St., P.O. Box 112, Trenton, NJ 0862770112.

   

 

RICHARD M. ZELMA, pro se
PLAINTIFF
Norwood, NJ 07648

Dated: April 15, 2015
 

Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 16 of 24 PagelD: 456

EXHIBIT - |
_ Case tide GyQOocss DW-SCM Document 19 Filed 04/17/15 Page 17 of 24 PagelD: 457

   
   
  
  

o-CV~

 

 

Richard M. Zelma,
Plaintiff;
Vy, :

Toyota

 

 

‘1, Bvan Kuperman, of full age'and ca

authority, depose and'say as-follows Y

  
 

EXHIBIT

1

(00608444;.1).

 

 

 
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 18 of 24 PagelD: 458
Case 2:13-Cv-02698-ES-SCM_ Document 7-3 Filed 05/14/13 Page 2 of 7 PagelD: 126

 

 
  

1. at Ro Mand: Toyota, locat diat 618: ute

  

303, Blauvelt, NY 10913.

 

cs ~ ‘Rockland Toyota is an independent and distinct entity: from. Toyota Financial

Serviees Americas Corporation, d/b/a Toyota, Financial Services (“TFS”). Rockland Toyota in

      
   
 
   
   
     
    

. : fact, is tke ise it independent and distinct from all other Toyota affiliates aswell,

: locked service: satin ‘

 

ase,.Pratection Options: et mi
¢ yyota, wiih designate he
it Corp,, to which only TSE

 

t Application to TSF, from Plain

 

nmexed hereto as Exhibit 2 is a.Cred}

  

time he leased’a-vebicle:ftom Rockland Toyota.

(O0S0Rdaa; 1): Biot - 2

   

 
 

Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 19 of 24 PagelD: 459
Case 2:13-Cv-02698-ES-SCM Document 7-3 Filed 05/14/13 Page 3 of 7 PagelD: 127

    

tunity to, review this Affidavit with the attached xhibits, and

each statement included in this Affidavit is true and accurate to the best of my knowledg

 

belief

 

 

 

 

 

 
 

Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 20 of 24 PagelD: 460

EXHIBIT - 2
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 21 of 24 PagelD: 461

 
   

 
   
   

   

 
   
   
 

4 TL:

r

 

 
  

   
 

FRIDAY ALL HO OM
ST ne ro « Aare work L2OOL Tovora

Conny On oO

AavYy 7O

 
  
   

4K nO T¢ oras!

 
 

  
     
  

(Erne

20

   

over a

 
  
  

2014 Te OTR
S07

4 vALON

 

 
  

i

30,8 41

($1,500 )

4

4,021
($1,500 )

¥

 
  
   
 

  
  
  
 

    
  

 
  
   

  
   
  

F, OAY .\EDATE
aula ‘ 6 Facroke Rebare

 
   

 
 
 
 

     
  
   
   

Lowalre : aA7E

{ f

ARIE

 

  

Lowatre ‘
t f

 

 
 
 

 
 
 
 

AL BSOSLO
S74 F306 7 2

(S&P:
Roth lanct
alo

    
  
  
      

       
    
    

AiCe
Rotklancl Puce

Lovacre Rebare

 
 
   
  

   
    
 

,

sO
ts

we
f

   
 

Rebare

 

f

ond T hacte Vatue

Foat

ow

    

  
   
 

D*

 

6
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 22 of 24 PagelD: 462

ROCKLAND TOYOTA
Te Nee ee Te

Dear Richard Zelma,

   

Rockland Toyota invites you to our MONTH LONG Black Friday Event! All vehicles in stock have been
clearly marked with SPECIAL PRICING during this event! If you are still the owner of a 2008 Toyota
Rav4, be sure to bring it with you!

We want to exchange your vehicle for a brand new Toyota during our November Event. We are willing to
offer you up to $11,155* for this trade when upgrading to a new 2014/2015 Toyota. PLUS, during this
special EVENT all new Toyota models in stock will be offered at Special Pricing! The combination of
Special Pricing, Factory Rebates and 0% APRt Financing and High Trade Values means you could

possibly be driving a new vehicle for the same payment or even less than you have now.

This special combination offer is only being made to previous Rockland Toyota customers - This will be
your only notification, Please bring this letter with you to identify you as a member of this event.

 

Your Complimentary Gift With Test Drive!
During this event you will receive a Target Gift Card
just for taking a test drive!

  
 
    

Limit one per letter holder. While supplies last. Es sw Ra

 

 

 

Limit 100 for this event. See dealer for details. aye aio OL nn oe
November Upgrade Location: Dates:

Rockland Toyota Now through

618 Route 303 Sunday, November 30th, 2014
Blauvelt NY 10913 2015 Toyota Rav-4 LE

  
  
  
  
 

845-358-2220 $259/36 mo

www.rocklandtoyota.com

  

poe) ae
CERTIFIED

rer ertrar yy

 
      

2014.5 Toyota Camry LE
$199/36 mo**

‘The Best Hew Care Make The Gast Used Cars

1.9% APR

financing on

Fra eum @ausii tat
Used Vehicles."

foweneo ev QU

 

 

Estimated Black Book® market value is based off of dean vehide condition ond mileage. Equipment and condition of vehicle may affect vehicle volue. Block Book® is not o participating partner in or sponsot of this event oc cfler. Copyright
| © 2014 Heorst Business Medio Corp. ALL RIGHTS RESERVED. Block Book® is o ragistered trademark of Hearst Business Madia Corp. Deductions will ba made for mileage over 10,000 miles per yeor, equipment, required reconditioning - both
: mechanical ond cosmetic, accident history and general condition of the vehicle. All Rockland Toyotn offers ore mutually exclusive. AR offers ore with approved credit. Contact us for detuils. {With approved credit. On selact madels. 0% APR in
fiev of retoil bonus cash. See dealer for complete details. tT0n select vehides, With approved credit. **2014.5 Toyota Camry LE $199/month x 36 months. MSRP of $24,005. $0 down, excludes fox, fle and MY foes. Avoiloble to qualified
buyers. Present at time of purchase to receive advertised price, Indudes $650 Acquisition Fee, $75 doc fee and $2000 Toyota lease bonus cash. ***2015 Rav4 LE - $259/month x 36 months, MSRP of $26,979, $0 down, excludes tox, fits
ond MV fees. Available to qualified buyars. Present ct time of purchase to receive advertised price. Indudes $650 Acquisition Fae, $75 doc fee, “Plus ma, fille, plates and applicable payotf

    

Teeehe

  

OCKLAND

 

 

 

 

TOYOTA |. _ Expires November 30th, 2014
Up To:
$115,155*
Offer Only COO8 Toyota Rav4y
Valid On A:
11 freee, ‘AUTO™SCH S-DIGIT 07620 Nan-Negotiable, Non-Transferable. Not a check.
0000308 j211087 Qne voucher per purchaser, per household.
Richard Zelma Valid only during dates shown above. No cash value.
Pay 940 Blanch Ave
to the Norwood, NJ 07648-1712
Order
oe MMM padatals beg tdeeadede dh det Evan k upeAnan

 

Authorized Signature
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 23 of 24 PagelD: 463

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

RICHARD M. ZELMA
PLAINTIFF Case 2:15-cv-0308-SDW-SCM
vs.
EVAN KUPERMAN individually, as Removed from the Superior Court of
owner, officer or managing New Jersey Law Division, Bergen County;
member of GALAXY NYACK INC., Original DOCKET NO. BER -L- 20338-14
d/b/a ROCKLAND TOYOTA,
and
GALAXY NYACK INC., d/b/a
ROCKLAND TOYOTA, CERTIFICATION of SERVICE
and
DOES' (1-5) and ABC
CORPORATIONS ' (1-5); EACH
ACTING INDIVIDUALLY, IN
CONCERT OR AS A GROUP.
DEFENDANTS

 

 

The undersigned Plaintiff hereby certifies that my Amended
Complaint with Exhibits, was sent via Overnight Mail, this 15** day
of April, 2015 to;

The United States District Court
Clerks Office, 4*° Floor

50 Walnut Street

Newark New Jersey 07101

And

On this same date, a Courtesy Copy was sent via Regular 18* Class
Mail to Chambers of;

The Honorable Susan D. Wigenton, U.S.D.J.

United States District Court

District of New Jersey

Martin Luther King, Jr. Federal Building & U.S. Courthouse

50 Walnut Street

Newark, New Jersey 07102

And
On this same date, true and correct copies of same were served
upon Defendants, Evan Kuperman and Galaxy Nyack, Inc via Certified

Mail, R.R.R., Regular 1°° Class Mail at the Defendants place of
business;

And

Same will be served via Court ECF upon counsel of record;

 

 
Case 2:15-cv-00308-SDW-SCM Document 19 Filed 04/17/15 Page 24 of 24 PagelD: 464

Syrion A. Jack Esq.
SCHWARTZ SIMON
EDELSTEIN & CELSO LLC

Attorneys for Defendants,
Evan Kuperman and Galaxy Nyack, Inc., d/b/a Rockland Toyota

I hereby certify that the foregoing statements made by me are
true. I am aware that if any of the foregoing statements made by me

are willfully false, I am subject to punishment.

  

 

OY f C
4 i / v Lm
Rihard M.“Zelma, pro se
PLAINTIFE

Dated: April 15, 2015

 

 
